 

AO 106 (Rev. 04/10) AARAGn PraSeblek Wades-TLF Document 1 Filed 06/13/18 Page 1 of 15

 

 

   
 

 

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UNITED > STATES DISTRICT Cq Received
for the
Western District of Washington JUN 13 20
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In the Matter of the Search of Y BTR at ee oy

 

 

 

(Briefly describe the property to be searched
or identify the person by name and address)

Case No. PAT I9- 5/48

3418 90th Street South Apt. #32 Lakewood, WA 98499
and a Silver 2004 Mitsubishi Endeavor, Washington license
plate AKVS/83 described in Attachments Ai & A2.

APPLICATION FOR A SEARCH WARRANT

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I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachments At and A2 (incorporated herein by reference)

located in the Western District of Washington , there is now concealed (identify the
person or describe the property to be seized)!

 

See Attachment B (incorporated herein by reference)

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Mf evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
Ma person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 USC 1969(a) Violent Crime in Aid of Racketeering Activity
18 USC 1962 RIGO
18 USC 924(c) Possession of a Firearm in Furtherance of a Crime of Violence

The application is based on these facts:

_ Please see attached Affidavit.

wh Continued on the attached sheet.

[ Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

ao ee er bCb
Applicant’s signature ,

FBI Special Agent Todd R. Bakken
Printed name and title

Sworn to before me and signed in my presence.
Date: Guns 13 aK Sy een L.. Qoike _
Judge's signareré

City and state: Tacoma, Washington Theresa L. Fricke, United States Magistrate Judge
Printed name and title

 

 

 
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ATTACHMENT Al
(3418 90th Street South Apt. #32 ‘Lakewood, Washingtony

The SUBJECT PREMISES, 3418 90th Street South, Apartment 32, Lakewood, Washington
98499, is an apartment in the Chandelle Apartments complex. It is located on the second floor of
the most northwest building of the four-building complex. Building 3418 is cream colored with
white trim, and has the number “3418” on the side (north) wall about eight feet off the ground.
Building 3418 has an open-ait entryway for four apartments. Apartment 32 is the upstairs
apartment on the right side (as you are standing in the parking lot facing the entryway). The
number “32” is on the front side of the building to the right of the entryway (as you face the
entryway), about eight feet off the ground, and the number “30” is directly below the “32.”

 
 

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ATTACHMENT A2
(Silver 2004 Mitsubishi Endeavor, Washington license plate AK V5783)

 

 

 
 

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1,

Attachment B

Particular Things to be Seized

Evidence of street gang membership or affiliation with any street gang,

including but not limited to:

A.

Any document or materials referencing gangs or gang membership,

including any drawings, writings, notebooks, papers, objects, or graffiti

' depicting gang names or gang members’ names, initials, logos, nicknames, or

slogans;

Any membership rosters or a description of gang membership or
affiliation, activity, or identity; .

Any material or object which appears to depict evidence of any criminal
activity;

Any photographs and videos which appear to depict enterprise evidence,
such as depictions of persons displaying gang signs, firearms, or money;
Any document or materials referencing gang rules, regulations, pledges, oaths,
procedures, codes or knowledge;

Any address books, lists of, or single references to addresses or telephone
numbers of persons who are determined to belong to or to be affiliated with
any street gangs; |
Any communications involving persons who appear to be members of or
affiliated with any street gang;

Cellphones;

Computers, laptops, or electronic tablets (such as iPads);

Any electronic device capable of digitally storing images, videos, or
media files, such as cameras, thumb drives, compact discs, or SD cards;
and

Any bandanas.
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Il. Evidence of trafficking in firearms, including firearms and ammunition.

Ill. Evidence of trafficking in controlled substances, including but not limited to
controlled substances, controlled substance residue, scales, baggies, and other paraphernalia,

owe sheets, and U.S. currency.

 
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AFFIDAVIT

STATE OF WASHINGTON y
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COUNTY OF PIERCE )

AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR SEARCH WARRANT

I, Todd Bakken, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search warrants authorizing the search of
3418 90th Street South, Apartment 32, Lakewood, Washington 98499 (hereinafter
“SUBJECT PREMISES”), and a silver 2004 Mitsubishi Endeavor, Washington license
plate AK V5783 (“SUBJECT VEHICLE”), as more fully described in the respective
Attachments Al and A2, for evidence, fruits and instrumentalities of criminal violations,
as described in Attachment B.

2. lam an “investigative or law enforcement officer” of the United States
within the meaning of Section 2510(7) of Title 18 of the United States Code, and am
empowered by law to conduct investigations of, and to make arrests for, offenses in
violation of Title 18 and Title 21 of the United States Code.

3, lama Special Agent of the Federal Bureau of Investigation (FBI) assigned
to the Seattle Division’s Tacoma Resident Agency. I have been employed by the. FBI as
a Special Agent for 27 years, and have investigated gang and drug cases since 1994.
Since 2003, I have coordinated the FBI’s South Sound Gang Task Force; part of my
assigned caseload involves the investigation of cases involving narcotics trafficking,
often by members of various street gangs. As a federal agent, I am authorized to
investigate violations of laws of the United States and to execute warrants issued under
the authority of the United States.

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4. The facts in this affidavit come from my personal observations, my
training and experience, open source records, and social media accounts obtained.
pursuant to federal search warrants, as well as information obtained from other law
enforcement officers and in interviews with and grand jury testimony of witnesses. This
affidavit is intended to show only that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter.

5. Based on the facts set forth in this affidavit, there is probable cause to
believe that violations of Title 18, United States Code, Section 1962 (Racketeer
Influenced and Corrupt Organizations Act); Title 18, United States Code, Section 1959
(Violent Crimes in Aid of Racketeering); Title 18, United States Code, Section 924(c)
(Possession of Firearm in Furtherance of a Crime of Violence); and Title 21, United
States Code, Sections 841 and 846 (Drug Trafficking) have been committed. There is
also probable cause to search the SUBJECT PREMISES, as described in Attachment A,
for evidence of these crimes and contraband, or fruits of these crimes, as described in
Attachment B. | |

THE ROLLIN 60s CRIPS OF DANVILLE, VIRGINIA

6. Since mid-2017, the FBI, along with other federal agencies, the Danville
Police Department (“DPD”), and the Pittsylvania County Sheriff’s Office have been
investigating gang-related violent crime in the Danville, Virginia area. During the
course of this investigation, the FBI has learned that multiple street gangs operate in the
Danville area, including the “Rollin 60s Neighborhood Crips” (“ROLLIN 60s”). The
ROLLIN 60s is a violent criminal street gang. The ROLLIN 60s and their members are
believed to have committed, and to continue to commit, violations of federal criminal
statutes including, but not limited to, those set forth in paragraph 5.

7. To date, the investigation into the ROLLIN 60s has revealed the following

information about the gang’s structure and membership:

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a. The ROLLIN 60s is a set of the Crips street gang which has

_ operated in the Western District of Virginia, primarily Danville, Virginia, since at

least sometime in or about the summer or fall of 2015. .

_b. New members of the ROLLIN 60s join the gang through an
initiation process of “fighting in,” which is where a recruit would take a beating
from other members for sixty seconds.

| c. The members of the ROLLIN 60s would meet to discuss gang
business. These meetings, called “sit downs” or “sessions,” provided a chance for
the members to discuss the “situation” with other gangs, including “beefs,” and
how best to earn money.

d. The main source of income for the members was the sale of
marijuana and cocaine, and certain members were known as higher level
distributors to other gang members for street level distribution. Some members
were allowed to contribute to the gang through legal employment. The members
earned money because they were required to take care of each other and their
families and were supposed to pay dues. |

€. Part of the gang business also included “putting in work” for the
gang when necessary; “putting in work” is a reference to shooting at others or
objects, such as the houses of rival gang members. It could also mean killing a
rival gang member, if needed.

f. The ROLLIN 60s are typically associated with an area in the City
of Danville known as the “8” or “800,” which refers to a particular neighborhood.
They work to control and maintain this area against other gangs.

g. The ROLLIN 60s commonly utilize a variety of unifying marks,
manners, and identifiers, including “gang signs,” which refer to hand gestures that
are specific to the gang organizations. The ROLLIN 60s use certain phrases,

lingo, and writing styles to promote and facilitate their gang and to show

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disrespect to others. Members wear blue bandanas, called “flags,” to denote their

gang membership. .

h. The ROLLIN 60s operate under a loose leadership structure, with
the head of the gang called “BKig Homie.”

i. The ROLLIN 60s function according to a set of rules, sometimes
contained in “books of knowledge.” The books of knowledge can describe such
things as the leadership structure, gang history, and general rules. Members often
distributed the “knowledge” by photographing the writings and sharing it through
Facebook, social media, and text messages.

j. The ROLLIN 60s frequently possess firearms, which they show
themselves brandishing in publicly available videos and photographs in order to
promote the gang’s violent and intimidating image. The ROLLIN 60s also use
social media as a recruitment tool.

8. Members of the ROLLIN 60s and their associates distributed controlled
substances, and used the proceeds of those drug transactions to benefit gang members
and to help finance their enterprise.

9. | Members of the gang and their associates also participated in the ROLLIN
60s enterprise by trafficking in firearms. In addition, the gang members are instructed to
carry these firearms for their own protection and the protection of their fellow gang
members.

10. Because of their gang association and participation in various violent
crimes, numerous ROLLIN 60s members and their associates are currently under
investigation, and there is reasonable suspicion to believe that evidence exists within the
SUBJECT PREMISES and SUBJECT VEHICLE that will be relevant and material to
the ongoing criminal investigation of the gang itself and of the aforementioned offenses.

11. It is my experience in investigating street gangs that most members are
known to fellow gang members by street names or monikers. Gang members frequently
write their names or monikers of themselves and associates on walls, furniture,

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miscellaneous items, and/or papers and notebooks, within their residences or their
vehicles. In addition, gang members and their associates write their gang “knowledge”
on documents and papers in order to help disseminate that information to other members
and associates.

12. It is also my experience in the investigation of street gangs that gang
members keep digital photographs and videos, in which are depicted: (a) fellow gang
members who are posing and giving hand gang signs that indicate gang identity or
affiliation; (b) gang members or associates posing with weapons, particularly firearms
that are often used for criminal activities; (c) gang members or associates posing with
large stacks of cash, which can include criminal proceeds; and (d) gang members or
associates posing at locations that are known to be specific gang hangouts. These ~
photographs have been displayed on social media outlets, e.g. Facebook, and have been
shared by texting the photographs to others using cellphones. Such photographs and
videos are used to promote a gang member’s standing within the gang, as well as to
promote the gang and recruit other members (e.g., the more violent a gang appears, the
more “popular” it is).

13. Further, it is my experience that many gang members use cellular and
electronic devices to communicate with other gang members and associates through
voice calls, text messages, and by accessing social media. Through the investigation of |
this case I have learned that gang members use social media messages and regular text
messaging to plan and execute gang and criminal activity, as well as to discuss previous
criminal activity. These devices contain evidence of the gang and criminal activity.

Subject Premises and Vehicle Information

14. A Federal Grand Jury in the Western District of Virginia has indicted
Phillip Daekwon Miles, also known as “R” or “Sammy,” with violations of Title 18,
United States Code, Sections 1959 and 1962 (Violent Crimes in Aid of Racketeering,
and Racketeer Influenced and Corrupt Organizations Act, respectively). Miles is a

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member of the ROLLIN 60s and has been a member of this gang since at least 2015,
according to his Facebook account information and the testimony of multiple witnesses.
15. During this grand jury investigation, law enforcement has reviewed
numerous Facebook accounts, other social media, and the contents of cellphones, as well

as interviewed multiple witnesses, Based on this information, Miles is the second-in-
command of the ROLLIN 60s gang, and frequently gave orders to other members,
sometimes through Facebook or text messages. Miles is known as a “shooter” for the
gang and, over-the last three years, has allegedly been involved in multiple shootings
and attempted murders, including the murder for which he is now indicted by a Federal
Grand Jury. Miles is frequently armed.

16. In addition, Miles is believed to be a high level drug supplier for the
ROLLIN 60s and helped supply lower-level gang members with narcotics for street
level distribution. |

17. Until a couple of months ago, Miles lived and operated in Danville,
Virginia. On an unknown date this spring, after some of his fellow gang members were
arrested on various state charges, Miles fled to Tacoma, Washington.

18. Investigation by the FBI and other law enforcement agencies has
determined that until very recently, Miles resided at 1828 South 95th Street, Apt. D,
Tacoma, Washington 98444,

19. Miles is an employee of Wal-Mart. In response to a grand jury subpoena,
Wal-Mart provided records showing Miles’s listed address as 1828 South 95th Street,
Apt. D, Tacoma, Washington 98444,

20. In addition, the CP Clear database listed a resident of that same address as
Equasisa Mascal. Mascal is known to be Miles’s current girlfriend and the mother of at
least one of his children. CP Clear collects data from all three credit bureaus which
report credit information when an individual obtains credit, purchases items using credit,
or obtains goods or services that require a credit check. Experian reported 1828 South

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95th Street, Apt. D, Tacoma, Washington 98444 as a residence for Mascal as recently as
March 2018.

21. Miles himself indicates publicly that he lives in the Tacoma area. Miles
has posted two recent videos on YouTube. Law enforcement determined. that one video
was filmed in front of “Lou’s Barber Shop,” which is located at 2615 North 21st Street,
Tacoma, Washington 98406. Ina separate video, Miles is walking into a store that was
identified as “Handy Deli & Grocery,” located at 8711 South Hosmer Street # E,
Tacoma, Washington 98444, and hence walking distance to the 95th Street address and
about a 10-minute drive to the SUBJECT PREMISES on 90th Street in adjacent —
Lakewood. In both videos, Miles is with an individual known to law enforcement as
Travalle Mccadden. Mccadden commented on Facebook that he and “R” (Miles) had
been staying with his older brother “Rik.” Law enforcement has identified “Rik” as
Tyrick Mecadden (who had active utilities at that 95th Street address in 2018).

22, CP Clear had active utilities at the 95th Street address for Trik Mccadden
from October 2017 to April 2018. Experian reports the 95th Street apartment as an
address for Tyrik Mccadden from October 2017 to J anuary 2018, and TransUnion
reports it as an address for Trik Mccadden in March 2017.

23. In May 2018, law enforcement monitored a telephone call made by
ROLLIN 60s member Dashaun Trent, who is currently incarcerated in jail. Trent placed
a call to a person identifying himself as “Sammy Banks” using number (434) 710-8055.
“Sammy Banks” is a verified alias of Miles. A reverse search using the ICS telephone
system (Jail Contract Telephone Service) provided the apartment on 95th Street as the
address for the above number. (Note: System did not provide an apartment number.)

24. On June 12, 2018, law enforcement approached property management of
the 95th Street address. Although management personnel were not especially
cooperative, agents could see a large dry erase board in plain view on the wall in the
management office. On that board, it was written that the “move out date” for Building
“1828” Apt. # “D” was “5/21” (May 21st). This confirmed suspicions raised by viewing

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Tyrick Mccadden’s girlfriend’s public Facebook page on June 11, 2018, that the
residents of the 95th Street apartment had recently moved to a new address(es). It
appeared that the post about moving was dated May 18, 2018.

25. On the afternoon of June 12, 2018, your Affiant and another FBI agent
both independently observed PHILLIP MILES stocking shelves at the Wal-Mart located
at 7001 Bridgeport Way West, Lakewood, Washington. MILES appeared to be an
employee of the store. MILES was still stocking shelves at approximately 5:00 p.m. At
approximately 10:10 p.m., MILES departed Wal-Mart from the main front doors and
entered the driver’s door of a silver Mitsubishi SUV bearing Washington tag AK V5783
(the SUBJECT VEHICLE). MILES was alone. MILES drove directly to the Chandelle
Apartments located at 3418 90th Street South, Lakewood, Washington 98499. He
parked the vehicle in stall #32 and exited it. Surveillance was terminated at
approximately 10:25 p.m. FBI agents picked up surveillance at the Chandelle .
Apartments at approximately 7:30 a.m. on June 13, 2018, and the same Mitsubishi SUV
was still parked in stall #32.

26. On June 13, 2018, the registration for the SUBJECT VEHICLE was
checked via South Sound 911 (the regional emergency services dispatch center). The
registration included a notification that the silver 2004 Mitsubishi Endeavor,
Washington license plate AK V5783, “has been sold” on March 20, 2018 to “MILES,
PHILLIP DAEK WON” at 1828 S. 95th Street, Apt. D, Tacoma, Washington 98444
(which was MILES’ address at that time). .

27. Asnoted above, Public Records databases had listed the resident of the
95th Street apartment as Equasisa Mascal, known to be Miles’s current girlfriend and the
mother of at least one of his children. On June 13, 2018, the Washington Department of
Social and Health Services (DSHS) confirmed to your Affiant that the current resident at
3418 90th Street South, Apt. 32, Lakewood, Washington 98499, i.e., the SUBJECT
PREMISES, was Equasisa Mascal. |

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28. Also on June 13, 2018, the FBI saw a post on Equasisa Mascal’s public
Facebook page, responding to posts from two other people about food. In it, Mascal
said she would like to go see them, but Phillip was at work. Mascal’s post occurred at
approximately 10:00 p.m. on June 12, 2018; MILES had not yet departed Wal-Mart and
driven to the SUBJECT PREMISES, as detailed above in paragraph 25. Your Affiant
believes this meant that Mascal was indicating that MILES was not yet home for the
night, i.e., had not yet returned to the SUBJECT PREMISES.

29. The SUBJECT PREMISES, 3418 90th Street South, Apartment 32,
Lakewood, Washington 98499, is an apartment in the Chandelle Apartments complex.
It is located on the second floor of the most northwest building of the four-buildmg
complex. Building 3418 is cream colored with white trim, and has the number “3418”
on the side (north) wall about eight feet off the ground. Building 3418 has an open-air
entryway for four apartments. Apartment 32 is the upstairs apartment on the right side
(as you are standing in the parking lot facing the entryway). The number “32” is on the
front side of the building to the right of the entryway (as you face the entryway), about
eight feet off the ground, and the number “30” is directly below the “32.”

30. As set forth above, a Federal Grand Jury has found probable cause that the
ROLLIN 60s is an enterprise or organization that is engaged in activities that are in
violation of federal and state laws, and that Miles is a member of that enterprise.
Pursuant to my training and experience, gang members maintain evidence of gang
participation, controlled substances, and firearms in their homes, the homes of family
members, or locations where they spend large amounts of time, and the SUBJECT
PREMISES is such a location.

PERMISSION TO SEARCH DURING NIGHTTIME .

. 31. A Federal Grand Jury indicted Miles along with multiple other co-
conspirators, and a Federal Court has now issued arrest warrants for these individuals.
In order to effectuate the seizure of potential evidence, avoid the flight of defendants,
and help ensure officer safety, law enforcement intends to arrest all defendants contained

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in the Indictment on June 14, 2018 at 6:00 a.m. EDT. To arrest Miles at the same time,
law enforcement would need to execute the arrest and search warrants at 3:00 a.m. PDT.
Because Miles has already fled the jurisdiction and because of the prevalent use of social
media and cellphones by the defendants in this case, if Miles is not arrested
simultaneously with his co-defendants, there is a good faith basis to believe that Miles
could learn of the arrests and searches and would flee again and/or dispose of any
potential evidence he currently has in his possession. His flight could also increase the
risk of injury to other law enforcement agents who seek to arrest him on a later date, as
this gang has already publicly expressed a desire and willingness to shot and kill police
officers. Therefore, your Affiant also seeks permission to execute the requested search |
warrants at any time of the day or night.
CONCLUSION

32. Based on the foregoing information, your Affiant submits that probable
cause exists that SUBJECT PREMISES and SUBJECT VEHICLE contain evidence of
the criminal enterprise, as well as direct evidence of violations of Title 18, United States
Code, Section 1962; Title 18, United States Code, Section 1959; Title 18, United States
Code, Section 924; and Title 21, United States Code, Sections 841 and 846.

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TODD R. BAKKEN, Affiant
Special Agent, FBI

Subscribed and sworn to before me this 12 day of June, 2018.

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THERESA L. FRICKE (_~
United States Magistrate Judge -

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